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                                                        UNITED STATES BANKRUPTCY COURT
                                                             Western District of Michigan
  In re:         Angela Joy LaCombe                                                                     Case No.20-00285
                                                                              ,                         Chapter 13
  Debtor(s).                                                                                            Hon. Scott W. Dales
                                                                              /                         Filed: January 24, 2020

                                               THIRD PRE-CONFIRMATION AMENDED CHAPTER 13 PLAN


II. FUNDING

                A. PLAN PAYMENT The Debtor(s) shall make payments in the amount of $ 290.00 per                week,    bi-weekly,
                       semi-monthly,       month for the minimum of the ACP, subject to changes as set forth in paragraph II.B or
                   II.C, below, or until further order of the Court.


III. DISBURSEMENTS

                C. SECURED CLAIMS.

                     2. Personal Property:

                        a. Pre-Confirmation Adequate Protections Payments (APP): If the Trustee is to pay pre-confirmation
                           APP the secured creditor’s name, address, the account number and the payment amount must be
                           provided and it must be signified by entering the monthly payment amount in the box marked “Pre-Conf.
                           APP” under b. or c. of this paragraph. The Trustee will not disburse an APP until a proof of claim is filed
                           with documentation of a perfected lien satisfactory to the Trustee.

                        b. Secured Claims Subject to Final Paragraph of 11 U.S.C. § 1325(a): Each secured creditor in this class
                           has a lien that is not subject to 11 U.S.C. § 506viii Claims in this class shall be paid as follows plus an
                           additional pro-rata amount that may be available from funds on hand at an interest rate specified below or
                           the contract rate specified in the proof of claim, whichever is lower.

  Creditor, Address & Account                                          Collateral                      Balance Owing Interest Pre-Conf Equal Monthly
  No.                                                                                                                  Rate     APP      Payment
  United Federal Credit Union                             2013 Kia Optima 120000                      5,957.00                  6.50           100.00          150.00
  2807 S State Street                                     miles
  Saint Joseph, MI 49085                                  KBB Value. Fair Condition.
  9507                                                    Acquisition Date: 1/30/2019.

IV. GENERAL PROVISIONS

                R. NONSTANDARD PROVISIONS. Nonstandard provisions must be set forth below. A nonstandard
                   provision is a provision not otherwise included in this Model Plan or deviating from it. Nonstandard
                   provisions set out elsewhere in this Plan are ineffective and void. The following Plan provisions will
                   be effective only if there is a check in the box “Included” in the Preamble.

          1. Escrow Provision: After payment of all attorney fees approved at confirmation, the trustee shall escrow $50 per
             month of the debtor's payments to the trustee to be reserved for payment of additional allowed administrative
             expenses, if any. Such funds will be distributed for additional attorney fees or other administrative expenses that
             may be allowed from order(s)approving such expenses, before losing of the case, then to unsecured creditors, at
             plan completion, after all allowed administrative expenses. This escrow provision for administrative expenses is
             subject to funds availability after necessary monthly payments to secured claims such as continuing mortgage


viii
       Such a claim is not subject to “cramdown” and will be paid the full balance owing. If the collateral is a motor vehicle and is destroyed, the Debtor(s), with consent from the
secured creditor and Trustee, or by order of the Court, may use the collateral insurance proceeds to purchase replacement collateral, to which the creditor’s lien shall attach.
                                                                                  1 - As updated on 10-10-19
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            payments. Applications will be filed at least thirty (30)days before the completion of the case in order to be paid
            from escrowed funds.

      2. Treatment of United Federal Credit Union’s claim securing 2013 Kia Optima: The debtor, along with her non-filing
         spouse, purchased the 2013 Kia Optima more than 910 days prior to the filing of the petition. The Debtor proposes
         to pay the claim of UFCU in full with an interest rate of 4.49% or the contract rate, whichever is lower, instead of
         only the fair market value, in order to protect the co-debtor.


BY FILING THIS DOCUMENT, THE ATTORNEY FOR THE DEBTOR(S) OR DEBTOR(S) THEMSELVES, IF NOT
REPRESENTED BY AN ATTORNEY, ALSO CERTIFY(IES) THAT THE WORDING AND ORDER OF THE PROVISIONS
IN THIS CHAPTER 13 PLAN ARE IDENTICAL TO THOSE CONTAINED IN THE APPROVED MODEL PLAN
PURSUANT TO LOCAL BANKRUPTCY RULE 3015(d) FOR THE WESTERN DISTRICT OF MICHIGAN BANKRUPTCY
COURT, OTHER THAN ANY NONSTANDARD PROVISIONS INCLUDED IN PARAGRAPH IV.R.

                                                THIS PLAN REMAINS UNCHANGED IN ALL RESPECTS
                                                   NOT IN CONFLICT WITH THESE AMENDMENTS

 Date: June 10, 2020                                                                     /s/
                                                                                         Angela Joy LaCombe        , Debtor

 Date: June 10, 2020                                                                     /s/
                                                                                         Jeffrey D. Mapes P70509   , Counsel for the Debtor(s)




                                                                       2 - As updated on 10-10-19
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